

Marmol v Mutino (2022 NY Slip Op 00970)





Marmol v Mutino


2022 NY Slip Op 00970


Decided on February 15, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 15, 2022

Before: Manzanet-Daniels, J.P., Oing, González, Shulman, Higgitt, JJ. 


Index No. 300802/11 Appeal No. 15270 Case No. 2021-01161 

[*1]Romi Marmol, Plaintiff-Appellant,
vJoseph Mutino, Defendant, City of New York Human Resources Administration Office of Legal Affairs Liens and Recovery, Nonparty-Respondent.


Gardiner &amp; Nolan, Brooklyn (William Gardiner of counsel), for appellant.
Georgia M. Pestana, Corporation Counsel, New York (Amy McCamphill of counsel), for City of New York Human Resources Administration, respondent.



Order, Supreme Court, Bronx County (Doris M. Gonzalez, J.), entered on or about March 9, 2021, which denied plaintiff's motion to vacate or reduce a medical lien held by nonparty respondent City of New York Human Resources Administration (HRA), unanimously reversed, on the law and the facts, without costs, and the motion to vacate the lien granted.
HRA asserted a lien on the proceeds of plaintiff's settlement of an action arising out of an automobile accident in an amount representing the total amount of the medical bills it paid in connection with the treatment of the injuries plaintiff sustained in the accident (see  Social Services Law § 104-b). However, plaintiff was barred from suing for medical expenses, because her basic economic losses were less than $50,000 (see  Insurance Law § 5102[a]). Moreover, in light of the particular record before us, no portion of the proceeds of the settlement represents medical expenses, and HRA may not recover any portion of the proceeds for its medical costs (see Arkansas Dept. of Health &amp; Human Servs. v Ahlborn , 547 US 268 [2006]; see also Wos v E.M.A.,  568 US 627 [2013]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 15, 2022








